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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                      8:07CR287
                                               )
               v.                              )
                                               )
KHA MANH NGUYEN,                               )                       ORDER
BICH NGUYEN,                                   )
LIEN NGUYEN, a/k/a Lynn Wynn,                  )
                                               )
                      Defendants.              )



       This matter is before the court on the motion for an extension of time by defendant Bich
Nguyen (Filing No. 64). Bich Nguyen seeks until March 14, 2008 in which to file pretrial
motions in accordance with the progression order (Filing No. 53). Bich Nguyen has filed an
affidavit wherein she consents to the motion and acknowledges she understands the additional
time may be excludable time for the purposes of the Speedy Trial Act. Upon consideration, the
motion will be granted.
       IT IS ORDERED:
       Defendant Bich Nguyen’s motion for an extension of time (Filing No. 64) is granted.
Bich Nguyen is given until on or before March 14, 2008, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between March 3, 2008 and
March 14, 2008, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant’s counsel requires additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 3rd day of March, 2008.

                                              BY THE COURT:

                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge
